
KING, Judge.
On January 19, 1990, defendant, Aaron Johnson, was found guilty of aggravated battery, a violation of La.R.S. 14:34. On March 30, 1990, defendant was sentenced to seven (7) years imprisonment at hard labor. Nineteen days later on April 18, the defendant filed his motion for appeal. As the defendant’s appeal is untimely, we dismiss the appeal ex proprio motu.
La.C.Cr.P. Art. 914 provides:
“Art. 914. Method and time of appeal A motion for an appeal may be made orally in open court or by filing a written motion with the clerk. The motion must *1013be made no later than five days after the rendition of the judgment or ruling from which the appeal is taken. The motion shall be entered in the minutes of the court.” (Emphasis added.)
When a defendant fails to make a motion for appeal within the time provided in Article 914, he loses his right to obtain an appeal by then filing a motion for appeal in the trial court. Upon expiration of the five day period for appeal, the conviction and sentence are final and defendant’s only recourse is to seek reinstatement of his right to appeal by post-conviction proceeding in the trial court. State v. Counterman, 475 So.2d 336 (La.1985); State v. Latchie, 499 So.2d 1345 (La.App. 3 Cir.1986).
For these reasons, defendant’s untimely appeal is dismissed ex proprio motu by this Court.
APPEAL DISMISSED.
